    Case 1:19-cv-01474-GTS-DJS Document 11-2 Filed 02/17/20 Page 1 of 5



Rayminh L. Ngo, NDNY# 519997
HIGBEE & ASSOCIATES (Of Counsel)
1504 Brookhollow Dr., Suite 112
Santa Ana, CA 92705
(714) 617-8350
(714) 597-6559 facsimile
rngo@higbeeassociates.com
Counsel for Plaintiff,
ROBERT MILLER


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF NEW YORK

   ROBERT MILLER,                                   Case No. 1:19-cv-01474(GTS/DJS)
                                                    DECLARATION OF RAYMINH L.
                               Plaintiff,           NGO IN SUPPORT OF
                                                    PLAINTIFF’S MOTION FOR
                                                    DEFAULT JUDGMENT
   v.

   HAREDIM CONSULTING, INC.; and
   DOES 1 through 10 inclusive,

                               Defendants.



                         DECLARATION OF RAYMINH L. NGO

           I, Rayminh L. Ngo, declare as follows:

        1. I am an attorney at law, duly admitted to practice before the Courts of the

           State of New York and the United States District Court for the Northern

           District of New York. I am the attorney for Plaintiff Robert Miller in the

           above captioned action, and in my capacity as of-counsel Higbee &

           Associates.
Case 1:19-cv-01474-GTS-DJS Document 11-2 Filed 02/17/20 Page 2 of 5




 2. I make this Declaration in support of Plaintiff’s Motion for Default

    Judgment against Defendant Haredim Consulting, Inc.. I have knowledge

    of the following facts, and, if called as a witness, I could and would testify

    as follows:

 3. On or about April 23, 2018, Plaintiff discovered that Defendant was using

    Plaintiff’s image of Renata Shamrakova ( the “Image”) in an article titled

    Renata Shamrakova Accused of Swindling $1M (the “Infringing Article”)

    on Defendant’s Website http://privateinvestigations.blogspot.com/

    (“Website”).

 4. The Image used in the Infringing Article on Defendant’s Website provided

    no attribution to Plaintiff.

 5. After a brief investigation, Plaintiff concluded that Defendant had never

    purchased a license for the Image. Nor did Plaintiff ever provide Defendant

    with consent or authorization, in any form, whether implied or express, to

    use the Image in any capacity.

 6. On or about April 26, 2018, Higbee & Associates sent a cease and desist

    letter to Defendant’s address in Albany, New York requesting that

    Defendant remove the Image.

 7. Defendant did not respond, nor did it remove the Image from its Website.

 8. On or about May 2 and May 8, 2018, Higbee & Associates emailed follow-

    up correspondence to the Defendant. Defendant again did not respond, nor

    did it remove the Image from its Website.
Case 1:19-cv-01474-GTS-DJS Document 11-2 Filed 02/17/20 Page 3 of 5




 9. On multiple occasions, Higbee & Associates attempted to contact

    Defendant via e-mail, phone, and traditional mail. Defendant still did not

    respond, nor did it remove the Image.

 10. On or about June 13, 2018, Higbee & Associates managed to make contact

    with Defendant by telephone who then indicated he had no intention of

    participating in litigation or settlement negotiations. Defendant then

    abruptly ended the phone call.

 11. Higbee & Associates has since then attempted further follow-up with

    Defendant to no avail.

 12. On November 26, 2019, Plaintiff filed the Complaint in this matter. See

    ECF #1.

 13. The Summons, Complaint, and Civil Case Coversheet were served on

    Defendant on December 18, 2019, and the proof of service was filed on

    January 14, 2020. See ECF #6.

 14. After Defendant was served, Higbee & Associates has made further

    attempts to contact Defendant, but no correspondence has been answered.

 15. Defendant failed to respond or otherwise defend this case, and on January

    16, 2020 the Clerk of this Court issued a certificate of Default. See ECF #

    8.

 16. I am informed and believe that Defendant is not an infant or incompetent

    person, is not in military service, and was properly served under Rule 4 of

    the Federal Rules of Civil Procedure, the proof of service having been
  Case 1:19-cv-01474-GTS-DJS Document 11-2 Filed 02/17/20 Page 4 of 5




         previously filed with the Court.

      17. I request that the Court award statutory damages in the amount of $16,000,

         which represents approximately five times the licensing fee for online use

         of the Plaintiff’s photographs plus $7,500 for violation of the Digital

         Millennium Copyright Act (“DMCA”).

      18. I charge my clients $350 per hour for my services and $125 per hour for

         paralegal assistance. Approximately 4.5 hours of my time and 2 hours of

         paralegal time have been incurred in the prosecution of this action, for a

         total of $1,825. The four hours represent: one hour drafting the Complaint,

         half an hour for the entry of default, and three hours for drafting of this

         Motion for Default Judgment. Additionally, our client has incurred $520 in

         litigation costs which represents $400 for filing and $120 for service of

         process.

      19. Notice of this Default Motion was mailed to Defendant’s registered agent

         as indicated on the attached proof of service.

///

///

///

///

///

///

///
 Case 1:19-cv-01474-GTS-DJS Document 11-2 Filed 02/17/20 Page 5 of 5




      I declare under penalty of perjury that the foregoing is true and correct

under the laws of the United States of America.



      Executed this February 17, 2020, at Santa Ana, California,

                                                  /s/ Rayminh L. Ngo
                                                  Rayminh L. Ngo, Esq.
                                                  NDNY# 519997
                                                  HIGBEE & ASSOCIATES
                                                  1504 Brookhollow Dr., Ste 112
                                                  Santa Ana, CA 92705-5418
                                                  (714) 617-8350
                                                  (714) 597-6729 facsimile
                                                  Counsel for Plaintiff
